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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 08-cr-39-05-PB

Gillian Barrett

                                O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.

     In April and May of 2008, Ms. Barrett violated her bail with

no action requested.    On January 22, 2009, she was arrested for

possession of oxycodone and had alcohol on her breath.             The

arrest was at a time after her curfew. Given the number of failed

opportunities to comply with conditions I find that the defendant

is unlikely to abide by any condition or combination of

conditions.   The conditions of release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable
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opportunity for private consultation with defense counsel.                  On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                   ___________________________________
                                   James R. Muirhead
                                   United States Magistrate Judge

Date: February 3, 2009

cc:    Stanley W. Norkunas, Esq.
       Debra M. Walsh, Esq.
       U.S. Marshal
       U.S. Probation




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